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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARIANNE POWELL-KLINE               :          CIVIL ACTION
                                    :
      v.                            :          NO. 10-7418
                                    :
F.H. CANN & ASSOCIATES, INC. et al. :



                                       ORDER

      AND NOW, this 17th day of March, 2011, it is ORDERED as follows:

      1.      The Parties shall attend a Chambers Conference on Tuesday,

              March 29, 2011 at 9:30 a.m. in Room 6613. Lead trial counsel shall

              attend the Conference. Counsel should be familiar with all aspects of

              the case and shall have full authority to negotiate an amicable

              settlement. Counsel must be accompanied by his client or a

              representative with full settlement authority.

      2.      American Student Assistance representative Steven Pendenza shall

              attend the Conference. Counsel for Defendants shall ensure that Mr.

              Pendenza receives a copy of this Order.

                                               IT IS SO ORDERED.

                                                /s/ Paul S. Diamond
                                              ___________________
                                               Paul S. Diamond, J.
